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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION
IN RE GEORGIA SENATE BILL 202                      Master Case No.:
                                                   1:21-MI-55555-JPB
SIXTH DISTRICT OF THE AFRICAN
METHODIST EPISCOPAL CHURCH, et al.,                Civil Action No.: 1:21-
                                                   cv-01284-JPB
                         Plaintiffs,
                  v.
BRIAN KEMP, Governor of the State of
Georgia, in his official capacity, et al.,

                         Defendants,

REPUBLICAN NATIONAL COMMITTEE, et al.,

                         Intervenor-Defendants.
GEORGIA STATE CONFERENCE OF THE
NAACP, et al.,                                     Civil Action No.:
                                                   1:21-cv-01259-JPB
                         Plaintiffs,
                  v.

BRAD RAFFENSPERGER, in his
official capacity as the Secretary of State
for theState of Georgia, et al.,

                         Defendants,

REPUBLICAN NATIONAL COMMITTEE, et al.,

                         Intervenor-Defendants.


           DECLARATION OF DAVIN M. ROSBOROUGH
      IN SUPPORT OF AME & GEORGIA NAACP PLAINTIFFS’
     REWNEWED MOTION FOR A PRELIMINARY INJUNCTION
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      I, Davin M. Rosborough, hereby declare as follows:

      1.    All facts set forth herein are based on my personal knowledge, and if

called upon to testify as to the contents of this Declaration, I could and would do

so.

      2.    I am an attorney with the ACLU Foundation and serve as counsel for

Plaintiffs Sixth District of the African Methodist Episcopal Church, Delta Sigma

Theta Sorority, Georgia ADAPT, and Georgia Advocacy Office in the above-

captioned matter.

      3.    Attached hereto as Exhibit A is a true and correct copy of excerpts of

the March 7, 2023 deposition transcript of C. Ryan Germany.

      4.    Attached hereto as Exhibit B is a true and correct copy of excerpts the

March 14, 2023 deposition transcript of T. Matthew Mashburn.

      5.    Attached hereto as Exhibit C is a true and correct copy of excerpts of

the October 6, 2022 deposition transcript of Lynn Bailey.

      6.    Attached hereto as Exhibit D is a true and correct copy of excerpts of

the September 23, 2022 deposition transcript of the Athens-Clarke Board of

Elections & Voter Registration.

      7.    Attached hereto as Exhibit E is a true and correct copy of excerpts of

the May 5, 2022 deposition transcript of Milton D. Kidd.

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      8.    Attached hereto as Exhibit F is a true and correct copy of excerpts of

the November 29, 2022 deposition transcript of the Cobb County Board of

Elections and Voter Registration.

      9.    Attached hereto as Exhibit G is a true and correct copy of excerpts of

the March 7, 2023 deposition transcript of the Georgia State Election Board.

      10.   Attached hereto as Exhibit H is a true and correct copy of is a true

and correct copy of the declaration of Reginald R. Jackson dated April 17, 2023.

      11.   Attached hereto as Exhibit I is a true and correct copy of is a true and

correct copy of the declaration of Rhonda Briggins dated April 17, 2023.

      12.   Attached hereto as Exhibit J is a true and correct copy of is a true and

correct copy of the declaration of Shafina Khabani dated April 13, 2023.

      13.   Attached hereto as Exhibit K is a true and correct copy of is a true

and correct copy of the declaration of Glory Kilanko dated April 19, 2023.

      14.   Attached hereto as Exhibit L is a true and correct copy of is a true

and correct copy of the declaration of Shannon Mattox dated April 13, 2023.

      15.   Attached hereto as Exhibit M is a true and correct copy of excerpts of

the February 23, 2023 deposition transcript of Joseph Blake Evans.




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      16.   Attached hereto as Exhibit N is a true and correct copy of excerpts of

the January 12, 2023 deposition transcript of the Gwinnett County Board of

Registration & Elections.

      17.   Attached hereto as Exhibit O is a true and correct copy of excerpts of

the April 5, 2023 deposition transcript of the Fulton County Board of Registration

and Elections.

      18.       Attached hereto as Exhibit P is a true and correct copy of the Expert

Report and declaration of Dr. Stephen Pettigrew dated January 13, 2023.

      19.       Attached hereto as Exhibit Q is a true and correct copy of excerpts of

the March 9, 2023 deposition transcript of the Hall County Board of Elections and

Registration.



      I declare under penalty of perjury that the foregoing is true and correct.


Dated: April 24, 2023                                 /s/ Davin M. Rosborough
                                                      Davin M. Rosborough


                                                      Counsel for Plaintiffs




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